Case 2:18-bk-18802-VZ   Doc 30-1 Filed 08/22/18 Entered 08/22/18 15:00:09   Desc
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Case 2:18-bk-18802-VZ   Doc 30-1 Filed 08/22/18 Entered 08/22/18 15:00:09   Desc
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